                    Case 5:97-cr-00003-LGW-BWC Document 2181 Filed 07/27/16 Page 1 of 2


GAS 245D          (Rev. 09/11) Judgment in a Criminal Case for Revocations
                  Sheet I



                                           UNITED STATES DISTRICT COURT
                                                       SOUTHERN DISTRICT OF GEORGIA
                                                            WAYCROSS DIVISION

           c.UNI'ILED STAJIES OF AMERICA                                             JUDGMENT IN A CRIMINAL CASE
           CD- CD                                                                    (For Revocation of Probation or Supervised Release)
                    -
                                 Cz
                                     '7
                                 1.L.


       —Jc      — r—       T a t% Cooper
                                 '
                                                                                     Case Number              5 :97CR00003-7
                   —J
                                                                                     USM Number:              09459-021
           ui      - cc
                   CD Li                                                             Bryant H. Bower, Jr.
                                                                                     Defendant's Attorney
THE DEFENDANT:
   admitted guilt to violation of standard and special conditions of the term of supervision.
El was found in violation of condition(s)                                       ___ after denial of guilt.

The defendant is adjudicated guilty of these violations:

   Violation Number                  Nature of Violation                                                                        Violation Ended

                                  The defendant failed to abide by the imposed curfew (special condition).                     September 22, 2015

                                  The defendant failed to notify the probation officer ten days prior to a                     September 8, 2015
                                  change in residence or employment (standard condition).

         The defendant is sentenced as provided in page 2 of this judgment. The sentence is imposed pursuant to the Sentencing Reform
Act of 1984.
Li The defendant has not violated condition(s)                                                 and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                             July 20, 2016
Last Four Digits of Defendant's Soc. Sec. No: 5461                           Date of Imposition of Judgment



Defendant's Year of Birth: 1974

City and State of Defendant's Residence:

Hahira, Georgia                                                              William T. Moore, Jr.
                                                                             Judge, U.S. District Court
                                                                             Name and Title of Judge



                                                                                    7y 2                      ZO4'
                                                                             Date
                     Case 5:97-cr-00003-LGW-BWC Document 2181 Filed 07/27/16 Page 2 of 2
GAS 245D             (Rev. 09/11) Judgment in a Criminal Case for Revocations


                                                                                                                    Judgment— Page 2 of 2
DEFENDANT:                  Travis Cooper
CASE NUMBER:                5:97CR00003-7


                                                                   IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of: 8 months. The defendant shall receive credit for time served from the time of his arrest on January 16, 2016.




     0     The court makes the following recommendations to the Bureau of Prisons:




           The defendant is remanded to the custody of the United States Marshal.

     0     The defendant shall surrender to the United States Marshal for this district:

          0     at                                   0         a.m.      El p.m. on
          El    as notified by the United States Marshal.

     El    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          0     before 2 p.m. on
          0     as notified by the United States Marshal.

          El    as notified by the Probation or Pretrial Services Office.


                                                                           11 Iii lh1
I have executed this judgment as follows:




          Defendant delivered on                                                               to

at                                                          with a certified copy of this judgment.


                                                                                                         UNITED STATES MARSHAL



                                                                                By
                                                                                                      DEPUTY UNITED STATES MARSHAL
